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                               Orleans Justice Center
                           60 Day Update – September 2020
Sustainable Hiring
During these 60 days, the Human Resources Division participated in zero (0) job fairs within the
region due to COVID-19. The recruiters continue to note that OPSO is one of the lowest-paid agencies
present at most of the job fairs we participate in. Human Resources continue to recruit and hire
qualified candidates capable of staffing the OPSO vacancies, specifically the jail operations.

In July 2020, OPSO hired thirteen (13) new employees, of which the breakdown was: one (1) Part-
Time Summer Recruit, three (3) Corrections Monitoring Technician, one (1) Sanitation worker, and
eight (8) Deputy-Recruits. In addition to the new hires in July, fifty (50) employees separated from
OPSO during that same time frame. The fifty separations were ranked: five (5) Corrections Monitoring
Technician, one (1) Assistant Chief of Corrections, one (1) Young Marine Director, one (1) Mechanic,
one (1) Captain, one (1) Real Estate Clerk, fifteen (15) Civilian, two (2) Sergeant, and twenty-three
(23) Deputy-Recruits. Of the separations, five (5) Retirement, one (1) Job Abandonment, one (1)
Advancement, one (1) Resigned under Investigation, and forty-two (42) were for Personal Reasons.

In August 2020, OPSO hired one (1) new employee, of which the breakdown was: one (1) General
Maintenance worker. During that same time frame, OPSO separated eleven (11) employees. The
eleven separations were ranked: one (1) Corrections Monitoring Technician, one (1) Receptionist, one
(1) Human Resources Representative, one (1) Docket Clerk, one (1) Sergeant, and six (6) Deputy-
Recruits. Of the separations, nine (9) were due to Personal Reasons, one (1) Advancement, and one (1)
for Misconduct.

Policies
Director Hammons and the Policy & Accreditation team works with the Monitors and the Plaintiffs'
Class to complete the OPSO policies, standard operating procedures, and post orders. As the
documents are completed, OPSO continues to forward them to the partners mentioned above for their
review and feedback.

In July 2020, the team submitted sixty-three (63) policies, post orders, and standard operating
procedures for the final annual review.

In August 2020, five (5) policies, post orders, and standard operating procedures were submitted to the
Plaintiffs’ Class and Monitors for review and approval. Seven (7) were submitted to OPSO staff for
annual review, and eighty-four (84) were sent to the Training Division and Plaintiffs’ Class.

PREA Compliance
Due to the COVID-19 global pandemic, the PREA Compliance team has been reduced to one staff
person who continues to provide the necessary services, while being supplemented by the Investigative
Services Bureau’s PREA team.

Incident Updates and Outcome Data
During this reporting period, OPSO continued to notice a downward trend in every reportable category
of incidents, except Suicide Attempts, compared to the previous sixty-day reporting period. However,
the Orleans Parish Sheriff's Office, on the heels of two inmate deaths in the last reporting period,
suffered another inmate loss by suicide in August 2020, a 100% increase over the previous reporting



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      periods. Unit Managers continue to receive the statistics and review them to determine the root causes
      to prevent further incidents.

      Overall, during this two-month reporting period, there were 116 incidents tracked in the comparison
      charts below. Compared to the previous two-month reporting period in which 137 incidents reported,
      this reporting period saw a decrease in 16.60% incidents. The suicide is included in the overall
      incidents for 2020.



                           2020 Overall Incidents by Reporting Period
120             105
                      95
100
                    77
80                67                                                   68
                                                                                                                          6054
60                                                                       5350
                                                                             42                                               41
                                                                                                                                34
40                                                      23                          27                              24
                                  18                             148              20 2019                         16 14
20      5127                 4 610     0020     1000         7                              8
                                                                                                142   0001    5
 0




                           Jan & Feb 2020     Mar & Apr 2020           May & Jun 2020       July & Aug 2020




                                                                                                                            2
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Compared to the July 2018 and 2019 numbers, July 2020 saw a continued downward trend in Suicide
Attempts, Inmate-on-Inmate Altercations, and Inmate-on-Staff Altercations. Additionally, a decrease
to 2018 numbers in Uses of Force – O.C. Spray and below that in Uses of Force – Physical were
observed.


              July Incident Comparison (2018 vs 2019 vs 2020)
 50                              44
 40                         34
 30
                                      21                                                                       23
                                                                                                          20
 20                                                         15                                                      16
         9                                           10            9
 10           5                                                                         7
                  4                                                                4         4
  0
      Attempted Suicide    Inmate-Inmate             Inmate-Staff                Use of Force - OC   Use of Force - Physical
                             Altercation              Altercation                     Spray

                                            Jul-18        Jul-19        Jul-20




When compared to August 2018 and 2019, August 2020 saw a reduction in Suicide Attempts, Inmate-
on-Inmate Altercations, and Uses of Force – Physical. A slight upward trend was observed in Inmate-
on-Staff Altercations and Uses of Force – O.C. Spray. The uptick in those areas has been attributed to
the continued lengthy lockdowns due to COVID-19 precautionary measures.



             August Incident Comparison (2018 vs 2019 vs 2020)
 50                         47

 40
                                 32                                                                            32
 30
                                      21                                                                  22
                                                                                                                    18
 20      14                                          12            10                        10
 10           5                                             7                      5    6
                  3
  0
      Attempted Suicide    Inmate-Inmate             Inmate-Staff                Use of Force - OC   Use of Force - Physical
                             Altercation              Altercation                     Spray

                                           Aug-18      Aug-19           Aug-20




                                                                                                                               3
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As demonstrated in the chart below, compared to the previous reporting period of 2020, May, and June
2020, the Orleans Parish Sheriff's Office saw a 111.11% increase in suicide attempts at seven (7)
compared to only two (2). There was a 17.39% decrease in Inmate-on-Inmate Altercations from fifty
(50) to forty-two (42). Inmate-on-Staff Altercations decreased by 5.13% from twenty (20) to nineteen
(19). Use of Force (O.C. Spray) also saw a reduction for the first time since January and February with
a decrease of 52.63% from twenty-four (24) fourteen (14). Finally, Uses of Physical Force has
continued its downward trend, showing an 18.67% decrease from forty-one (41) to thirty-four (34).



                 60-Day Report Comparison (#1 vs #2 vs #3 vs #4
                                   (2020))
 80                            68
                                                                                               60
 60                                 53 50                                                            54
                                            42                                                            41
 40                                                                                                            34
                                                       27                          24
                                                  20        20 19             16
 20                                                                                     14
         5             7                                                5
             1    2
  0
      Attempted Suicide       Inmate-on-Inmate   Inmate-on-Staff      Use of Force (O.C.        Use of Force
                                 Altercation       Altercation             Spray)                (Physical)

                      Jan & Feb 2020    Mar & Apr 2020       May & Jun 2020         Jul & Aug 2020



Excessive or Inappropriate Force:
The Force Investigation Team (FIT) continues to review all uses of force, whether there is a complaint
of Misconduct. During the reporting period, FIT investigated four (4) new complaints alleging
excessive or inappropriate force. Of those cases, one was a duplicate. All three of the incident remain
open and under investigation.

During July and August 2020, FIT closed no cases with findings of Excessive, Not Justified, or
Inappropriate force used.

PREA Incidents
In July 2020, the PREA Investigative Unit, assigned to the Investigative Services Bureau, conducted
three (3) new investigations, all allegations of Sexual Harassment. Two (2) have been closed as
Unsubstantiated, and one (1) remains open and under further investigation.

In August 2020, the unit conducted four (4) new investigations categorized as one (1) Inappropriate
Relationship allegation, which was closed as Unsubstantiated, one (1) Sexual Battery allegation, which
remains open, and two (2) Sexual Harassment allegations, which remain under investigation.




                                                                                                                    4
